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                     EXHIBIT A
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                              IN THE UNITED STATES BAI\KRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE



In re                                                                            Chapter I I

NortelNetworks lnc, et al.,l                                                     Case No. 09-10138 (KG)


                                           Debtors.                              Jointly Administered



                                                                -----x

                STATEMENT OF
 PURSUANT TO FED. R. BANKR. P.2014 AND ORDER UNDER 11 U.S.C. $$ 327 AND
  328 AUTHORIZING RETENTION AND EMPLOYMENT OF SPECIAL COUNSEL
   INC. NUNC PRO TUNAO SEPTEMBER 15,2009 AS A PROVIDER OF LEGAL
       AFFI         ES                                            ON

                      I,                                          , (the "Contract Attomey") have agreed to perform


  non-legal services on behalf of Nortel Networks Inc., and its affiliated debtors and debtors-in-

  possession in the above captioned cases (the "&,b1!org") arranged through Special Counsel, Inc

  ("SDecial Counsel").

                       L          I submitthis Statement in connection with the Order Under // U.S.C. $$

327 And 32g Authorizing Retention And Employment Of Special Counsel Inc. Nunc
                                                                                                                          Pro Tunc To

                                                                                                                            Debtors In
September 15,2009 As A provider Of Legal Stffing Services To The Debtors And

 Possession (D.I.                  (the "Order"), entered on          _--,2009, by the United States Bankruptcy
                           -J
                                                                                                                      compensate and
Court for the District of Delaware, which authorizes the Debtors to retain, employ,

reimburse Special Counsel.



                                             es,alongwiththelastfourdigitsofeachF)ebtor,staxidentificationnumber,are:NortelNetworks
                                                                              (9769),.Nortel Altsystems lntemational Inc (5596)' Xros' Inc
Inc. (6332), Nortel Networks c-apitai Corporation (962b), Nortel AltsystemJnc
                                                                                                 Applications Management Solutions Inc
(4181), sonoma svstems (207ijliii.*-Cirp"tutioir (oz!t),coreret,tnc. (5'122),Nortel Networks
                                                                                       (3546), Architel Systems (u S ) Corporation (3826)'
(2g46), Nortel Networks opticJcirpon.titt lnc. (35+s), Nortel Networks HPoCS Inc.
                                                                              (6286), Nortel Networks cable solutions Inc (0567) and Nortel
Nortel Networks Intemational tnc. lolst;, Northem Telecom tntemational Inc.
                                                                                                which are available at
Networks   (CALA lnc. (4226). Addresses for rhe Debtors can be found in the Debtors' petitions,
                  )
http://chapter l Lepiqsystems.com/nortel
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               2.     The Contract Attorney hereby confirms that, to the best of his/her

knowledge, information and belief, formed after due inquiry: (a) except for the proposed

employment of the Contract Attorney in these chapter I I cases, the Contract Attorney does not

currently provide services to any parfy in any matter related to these chapter I I cases and (b) the

Contract Attorney does not represent or hold an interest adverse to the Debtors or the Debtors'

estates.

               3.      The Contract Attorney may have performed services in the past and may

perform services in the future in matters unrelated to these chapter I I cases, for persons that are

parties in interest in the Debtors' chapter I I cases. The Contract Attorney does not perform

services for any such person in connection with these chapter I I cases, nor does it have
                                                                                                   a


relationship with any such person or its attorneys or accountants that would be adverse to the

Debtors or the Debtors' estates.

               4.      If during the period of his/her employment, the Contract Attorney should

discover any facts bearing on the matters described herein, the Contract Attorney
                                                                                                will

supplement the information contained in this Statement'

Dated:                       2009




                                                      By:
